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                                                                                                  UNITED STATES DISTRICT COURT
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R OBINS , K APLAN , M ILLER & C IRESI L.L.P.




                                                                                              NORTHERN DISTRICT OF CALIFORNIA
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                                                                    IN RE: CATHODE RAY TUBE (CRT)                               Master File No. M:07-5994-SC
                                                               10   ANTITRUST LITIGATION                                        MDL No. 1917
                                                               11   This Document Relates to                                    Case No. 3:11-cv-05513-SC
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                                                               12   Electrograph Systems, Inc. et al. v. Hitachi, Ltd.,
                                               L OS A NGELES




                                                                    et al., No. 11-cv-01656;
                                                               13                                                             STIPULATION AND [PROPOSED]
                                                                    Siegel v. Hitachi, Ltd., et al., No. 11-cv-05502;         ORDER EXTENDING THE
                                                               14                                                             DEADLINE TO FILE MOTION TO
                                                                    Best Buy Co., Inc., et al. v. Hitachi, Ltd., et al.,      COMPEL THOMSON TO RESPOND
                                                               15   No. 11-cv-05513;                                          TO DIRECT ACTION PLAINTIFFS’
                                                                                                                              FIRST SET OF REQUESTS FOR
                                                               16   Target Corp., et al. v. Chunghwa Picture Tubes,           ADMISSION
                                                                    Ltd., et al., No. 11-cv-05514;
                                                               17
                                                                    Interbond Corporation of America v. Hitachi, et
                                                               18   al., No. 11-cv-06275;
                                                               19   Office Depot, Inc. v. Hitachi, Ltd., et al., No.
                                                                    11-cv-06276;
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                                                                    CompuCom Systems, Inc. v. Hitachi, Ltd. et al.,
                                                               21   No. 11-cv-06396;
                                                               22   Costco Wholesale Corporation v. Hitachi, Ltd., et
                                                                    al., No. 11-cv-06397;
                                                               23
                                                                    P.C. Richard & Son Long Island Corporation, et
                                                               24   al. v. Hitachi, Ltd., et al., No. 12-cv-02648;
                                                               25   Schultze Agency Services, LLC v. Hitachi, Ltd.,
                                                                    et al., No. 12-cv-02649;
                                                               26
                                                                    Tech Data Corporation, et al. v. Hitachi, Ltd., et
                                                               27   al., No. 13-cv-00157;
                                                               28   Sharp Electronics Corp., et al. v. Hitachi, Ltd., et
                                                                                                                       STIPULATION AND [PROPOSED] ORDER EXTENDING THE
                                                                                                                       DEADLINE TO FILE MOTION TO COMPEL THOMSON TO
                                                                                                                       RESPOND TO DIRECT ACTION PLAINTIFFS’ FIRST SET OF
                                                                                                                       REQUESTS FOR ADMISSION
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                                                                    al., No. 13-cv-01173;
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                                                                    Dell Inc. and Dell Products L.P. v. Hitachi, Ltd.,
                                                                2   et al., No. 13-cv-02171;

                                                                3   Sharp Electronics Corp. et al. v. Koninklijke
                                                                    Philips Electronics, N.V., et al., No. 13-cv-
                                                                4   02776;

                                                                5   Siegel v. Technicolor SA, et al., No. 13-cv-05261;

                                                                6   Sears, Roebuck and Co., et al. v. Technicolor SA,
                                                                    No. 13-cv-05262;
                                                                7
                                                                    Best Buy Co., Inc., et al. v. Technicolor SA, et al.,
                                                                8   No. 13-cv-05264;
R OBINS , K APLAN , M ILLER & C IRESI L.L.P.




                                                                9   Schultze Agency Services, LLC v. Technicolor
                                                                    SA, et al., No. 13-cv-05668;
                                                               10
                                                                    Target Corp., v. Technicolor SA, et al., No. 13-
                                                               11   cv-05686;
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                                                               12   Costco Wholesale Corporation v. Technicolor
                                               L OS A NGELES




                                                                    SA,, et al., No. 13-cv-005723;
                                                               13
                                                                    Electrograph Systems, Inc., et al. v. Technicolor
                                                               14   SA, et al., No. 13-cv-05724;

                                                               15   P.C. Richard & Son Long Island Corporation, et
                                                                    al. v. Technicolor SA, et al., No. 13-cv-05725;
                                                               16
                                                                    Office Depot, Inc. v. Technicolor SA, et al., No.
                                                               17   13-cv-05726;

                                                               18   Interbond Corporation of America v. Technicolor
                                                                    SA, et al., No. 13-cv-05727.
                                                               19
                                                                    ViewSonic Corporation, v. Chunghwa Picture
                                                               20   Tubes, Ltd., et al., 3:14cv-02510;

                                                               21   The Indirect Purchaser Action.

                                                               22
                                                                            This Stipulation and Proposed Order Extending the Deadline to File Motion to Compel
                                                               23
                                                                    Thomson to Respond to Direct Action Plaintiffs’ First Set of Requests for Admission between
                                                               24
                                                                    certain Direct Action Plaintiffs (“DAPs”), on the one hand, and defendants Thomson S.A.
                                                               25
                                                                    (n/k/a Technicolor SA); Thomson Consumer Electronics, Inc. (n/k/a Technicolor USA,
                                                               26
                                                                    Inc.) (collectively, “Thomson”), on the other hand, is made with respect to the following facts
                                                               27
                                                                    and recitals:
                                                               28
                                                                                                                            STIPULATION AND [PROPOSED] ORDER EXTENDING THE
                                                                                                                -2-         DEADLINE TO FILE MOTION TO COMPEL THOMSON TO
                                                                                                                            RESPOND TO DIRECT ACTION PLAINTIFFS’ FIRST SET OF
                                                                                                                            REQUESTS FOR ADMISSION
                                                                     Case 3:07-cv-05944-JST Document 2883 Filed 10/02/14 Page 3 of 6



                                                                1          WHEREAS, on March 21, 2014, the Court entered a scheduling order setting the close of

                                                                2   fact discovery for September 5, 2014. See Dkt. No. 2459;

                                                                3          WHEREAS, the deadline to file any motion to compel after the discover cut-off is

                                                                4   September 12, 2014 (L.R. 37-3);

                                                                5          WHEREAS, on August 1, 2014, the DAPs served their First Set of Requests for

                                                                6   Admission on Thomson;

                                                                7          WHEREAS, on September 5, 2014, Thomson served its Responses to DAP’s First Set of

                                                                8   Requests for Admission and stated objections on various grounds;
R OBINS , K APLAN , M ILLER & C IRESI L.L.P.




                                                                9          WHEREAS, on September 10, 11, and 12, 2014, counsel for the undersigned parties held

                                                               10   telephonic meet and confers to discuss deficiencies in Thomson’s responses identified by DAPs

                                                               11   and have a bona fide intent to continue doing so;
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                                                               12          WHEREAS, the DAPs and Thomson have conferred by and through their counsel and,
                                               L OS A NGELES




                                                               13   subject to the Court’s approval, HEREBY STIPULATE AS FOLLOWS:

                                                               14          1.      Subject to the parties’ meet and confer discussion, the DAPs will provide

                                                               15                  Thomson with a revised list of documents by September 17, 2014.

                                                               16          2.      Subject to the parties’ meet and confer discussion, Thomson will review the

                                                               17                  revised list for inclusion on, and will consider executing, a declaration or

                                                               18                  stipulation related to their authenticity and business record status by September 19,

                                                               19                  2014.

                                                               20          3.      The undersigned parties agree to extend the deadline for the DAPs to file a motion

                                                               21                  to compel relating to the DAP’s First Set of Requests for Admission, to the extent

                                                               22                                                                 DIS
                                                                                   one is deemed necessary by DAPs, to SeptemberS 22,  TRIC
                                                                                                                                      2014.
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                                                               24   PURSUANT TO STIPULATION, IT IS SO ORDERED.
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                                                                                                                     UNIT




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                                                                           October 2, 2014
                                                                    Dated: _________________                            _____________________________________
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                                                                                                                        Hon. Samuel Conti
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                                                               27                                                                  Ju
                                                                                                                        United States District          Judge
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                                                                                                                          STIPULATION AND [PROPOSED] ORDER EXTENDING THE
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                                                                                                                          DEADLINE TO FILE MOTION TO COMPEL THOMSON TO
                                                                                                                          RESPOND TO DIRECT ACTION PLAINTIFFS’ FIRST SET OF
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                                                                1                                 ROBINS, KAPLAN, MILLER & CIRESI L.L.P.
                                                                    DATED: September 12, 2014
                                                                2
                                                                                                  By: /s/ Laura E. Nelson_______________
                                                                3                                       Roman M. Silberfeld
                                                                                                        David Martinez
                                                                4                                       Laura E. Nelson

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                                                                                                  Purchasing LLC; Best Buy Enterprise Services, Inc.;
                                                                6                                 Best Buy Stores, L.P.; BESTBUY.COM, LLC; Magnolia
                                                                                                  Hi-Fi, LLC
                                                                7
                                                                                                    /s/ Philip J. Iovieno
                                                                8
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                                                                                                    Corporation of America, P.C. Richard & Son Long Island
                                                               24                                   Corporation, MARTA Cooperative of America, Inc., ABC
                                                                                                    Appliance, Inc., Schultze Agency Services LLC on behalf
                                                               25                                   of Tweeter Opco, LLC and Tweeter Newco, LLC
                                                                                                    Liaison Counsel for Direct Action Plaintiffs
                                                               26
                                                                                                    _/s/ Kathy L. Osborn_____________________________
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                                                                                                    Ryan M. Hurley (pro hac vice)
                                                               28
                                                                                                              STIPULATION AND [PROPOSED] ORDER EXTENDING THE
                                                                                                    -4-       DEADLINE TO FILE MOTION TO COMPEL THOMSON TO
                                                                                                              RESPOND TO DIRECT ACTION PLAINTIFFS’ FIRST SET OF
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                                                                    Case 3:07-cv-05944-JST Document 2883 Filed 10/02/14 Page 5 of 6


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                                                                                                   Consumer Electronics, Inc.
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                                                                                                              STIPULATION AND [PROPOSED] ORDER EXTENDING THE
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R OBINS , K APLAN , M ILLER & C IRESI L.L.P.




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